      CASE 0:11-cr-00228-MJD-JJK       Doc. 291    Filed 06/04/12   Page 1 of 2




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

United States of America,

      Plaintiff,
v.                                                  ORDER
                                                    Crim. No. 11‐228

Patrick Joseph Kiley (03),

      Defendant.
___________________________________________________________________

      David J. MacLaughlin and Tracy L. Perzel, Assistant United States
Attorneys, Counsel for Plaintiff.

      H. Nasif Mahmoud, McKenzie, Wilkes & Mahmoud, and David E. Zins,
Counsel for Defendant Patrick Kiley.
___________________________________________________________________

      This matter is before the Court on Defendant Patrick Kiley’s motion for

judgment of acquittal pursuant to Rule 29 of the Federal Rules of Criminal

Procedure.

      “Rule 29 (a) provides that the district court ‘must enter judgment of

acquittal of any offense for which the evidence is insufficient to sustain a

conviction.’” United States v. Cacioppo, 460 F.3d 1012, 1021 (8th Cir. 2006). “A

motion for judgment of acquittal should be granted only ‘if there is no



                                          1
        CASE 0:11-cr-00228-MJD-JJK    Doc. 291   Filed 06/04/12   Page 2 of 2




interpretation of the evidence that would allow a reasonable jury to find the

defendant guilty beyond a reasonable doubt.’” Id. (quoting United States v.

Gomez, 165 F.3d 650, 654 (8th Cir. 1999)). Applying this standard to the evidence

presented thus far, the Court finds that sufficient evidence has been presented as

to each charge against Defendant Kiley to warrant the case to go to the jury.

        IT IS HEREBY ORDERED that Defendant Patrick Kiley’s Motion for

Judgment of Acquittal [Doc. No. 289] is DENIED.




Date:    June 4, 2012

                                s/ Michael J. Davis
                                Michael J. Davis
                                Chief Judge
                                United States District Court




                                         2
